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                                                                               Filed Under Seal

                       IN TIIE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF .A.MERICA                          CRINIINAL     NO.    17-

                                                    D.{TE   FILED:_
LAWRENCE JAMIESON                                   VIOLATIONS:
JOHN BROWN                                          18 U.S.C. S 24220) (enticement of a
                                                    Minor to Engage in Sexually Illicit
                                                    Conduct - 2 counts)
                                                    18 U.S.C. $ 2251(a) (manufacturing child
                                                    pornography - 18 counts)
                                                    18 U.S.C. $ 1470 (transfer of obscene
                                                    material to a minor- I count)
                                                    18 U.S.C. $ 2252(a)(2) (distribution of
                                                    child pornography - 8 counts)
                                                    r8 U.S.C. S 2252(a)(2) (receipt of child
                                                    pornography - l0 counts)
                                                    18 U.S.C. $ 2252(a)(a) (possession of child
                                                    pornography - 2 counts)
                                                    Notice of forfeiture

                                        INDICTMENT

                                         COUNT ONE

TTIE GRAND JURY CIIARGES THAT:

               ln or about February,20l5 through on or about August 3, 2016, in the Eastem

District of Pennsylvania, and elsewhere, the defendant,

                                  LAWRENCE JAMIESON,

knowingly used a facility and means of interstate and foreign commerce, that is, the lntemet and

cell phone, to persuade, induce, entice and coerce Minor #1, who had not attained the age of 18

years, to engage in sexual activity, for which any person could be charged with a criminal

offense, and did attempt to do so, and did aid and abet, that is, JAMIESON attempted to coerce

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Minor #l to engage in sexual activity and record that sexual activity, in violation of l8 U.S.C.

$   22sl(a).

               In violation of Title 18, United States Code, Section 2422@).




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                            COUNTS TWO THROUGH SIXTEEN

TIIE GRANDJURY FTJRTHER CIIARGES THAT:

       On or about the dates listed below, each date constituting a separate count ofthis

Indictment, in the Eastern District of Pennsylvania, and elsewhere the defendant,

                                     LAWRENCE JAMIESON

employed, used, persuaded, induced, enticed, and coerced, and attempted to, and aided and

abetted, the employment, use, persuasion, inducement, enticement, and coercion of Minor #1 to

engage in sexually explicit conduct for the purpose ofproducing a visual depiction of that

conduct, and defendant JAMIESON knew and had reason to know that the visual depiction was

produced or would be transmitted using materials that have been mailed, shipped, or transported

in or affecting interstate or foreign commerce by any means, and the visual depiction was

actually transmitted in interstate or foreign commerce:

                            Count          Date of Offense
                            Two            November 10, 2015
                            Three          November 12,2015
                            Four           November 16,2015
                            Five           November 18, 2015
                            Six            November 19,2015
                            Seven          November 23, 2015
                            Eisht          November 30, 2015
                            Nine           December 18, 2015
                            Ten            June 17,2015
                            Eleven         March 12,2016
                            Twelve         April 12,2016
                            Thirteen       May 20,2016
                            Fourteen       July 10,2016
                            Fifteen        July 15,2016
                            Sixteen        July l'1,2016


       All in violation of Title   18, United States Code, Sections 2251(a), and 2251(e)


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                   COUNTS SEVENTEEN TIIROUGH TWENTY-TWO

THE GRANDJURY FURTIIER CHARGES TIIAT:

       On or about the dates listed below, each date constituting a separate count   ofthis

Indictment, in the Eastem District of Pennsylvania, and elsewhere the defendant,

                                   LAWRENCE JAMIESON,

knowingly received visual depictions that had been shipped using a means and facility of

interstate and foreign commerce, which visual depictions showed a minor under the age of 18

years engaged in sexually explicit conduct, and the producing ofthose visual depictions involved

the use of minors under the age of 18 years engaged in sexually explicit conduct.

                           Count           Date of Offense
                           Seventeen       May 17,2015
                           Eighteen        March 12,2016
                           Nineteen        April 12,2016
                           Twenty          May 20,2016
                           Twenty-One      July 10,2016
                           Twenty-Two      Jrtly 17 ,2016



       In violation of Title 18, United States Code, Section 22 52(a)(2).




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                                  COT]NT TWENTY-THREE

THE GRAND JURY I'TJRTIIER CHARGES TIIAT:

               In or about February, 2015 through on or about August 3, 2016, in the Eastem

District of Pennsylvania, and elsewhere, the defendant,

                                        JOHNBROWII,

knowingly used a facility and means of interstate and foreign commerce, that is, the Intemet and

cell phone, to persuade, induce, entice and coerce Minor #1, who had not attained the age of l8

years, to engage in sexual activity, for which a:ry person could be charged with a criminal

offense, and did attempt to do so, and did aid and abet, that is, JAMIESON attempted to coerce

Minor #1 to engage in sexual activity and record that sexual activity, in violation of 18 U.S.C.

$ 22s1(a).

               In violation of Title 18, United States Code, Section 2422@).




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                                    COUNT TWENTY.FOUR

TIIE GRANDJURY FURTIIER CHARGES TIIAT:

               On or about March 6,2015, in the Eastem District of Pemsylvania, and

elsewhere, defendant

                                            JOHNBROWN,

using a means or facility of interstate commerce, knowingly Fansferred an obscene matter to

Minor #l , whom BROWN believed had not attained the age of 16 years, and who in fact was

under the age of 16 years.

               Ia violation   ofTitle   18, United States Code, Section 1470.




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                 COUNTS TWENTY-FIVE THROUGH TWENTY-EIGHT


THE GRAND JURY FTJRTHER CHARGES THAT:

       On or about the dates listed below, each date constituting a separate count of this

Indictment, in the Eastern District ofPennsylvania, and elsewhere the defendant,

                                           JOIIN BROWI\I,

knowingly received visual depictions that had been shipped using        a means and   facility of

interstate and foreign commerce, which visual depictions showed a minor under the age of l8

years engaged in sexually explicit conduct, and the producing ofthose visual depictions involved

the use of minors under the age   of   18 years engaged   in sexually explicit conduct.

                          Count                       Date
                      Twenty-Five           March 6, 2015
                      Twenty-Six            March 10, 2015
                      Twenty-Seven          March 26, 2015
                      Twenty-Eight          March 30, 2015


              In violation of Title 18, United States Code, Section 2252(a)(2).




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                   COUNTS TWENTY-NINE THROUGH THIRTY-SIX

THE GRAND JURY FI,]RTIIER CHARGES TIIAT:

       On or about the dates listed below, each date constituting a separate count of this

Indictrnent, in the Eastem District of Perursylvania, and elsewhere the defendant,

                                          JOHNBROWN

knowingly distributed visual depictions that had been shipped using a means and facility     of
interstate and foreign commerce, which visual depictions showed a minor under the age      of l8

years engaged in sexually explicit conduct, and the producing ofthose visual depictions involved

the use of minors under the age   of l8 years engaged in sexually explicit conduct.

                            Count                          Date
                      Twenty-Nine          Marsh 6,2015
                      Thirty               May 21,2016
                      Thirty-One           May 25,2016
                      Thirty-Two           July 12,2016
                      Thirty-Three         May 21,2016
                      Thirty -Four         May 25,2016
                      Thirty-Five          July I l,2016
                      Thirty-Six           July 12,2016


              In violation of Title 18, United States Code, Section 2252(a)(2).




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                       COUNTS THIR            -SEVEN THROUGHFORTY

TEE GRAND JTIRY FURTHNR CHARGES THAT:

       On or about the dates listed below, each date constituting a separate count ofthis

Indictment, in the Eastem Dstrict of Pennsylvania, and elsewhere the defendant,

                                           JOHNBROWN

employed, used, persuaded, induced, enticed, and coerced, and attempted to, and aided and

abetted, the employment, use, persuasion, inducement, enticement, and coercion of Minor #1 to

engage in sexually explicit conduct for the purpose ofproducing a visual depiction of that

conduct, and defendant BROWN knew and had reason to know that the visual depiction was

produced or would be transmitted using materials that have been mailed, shipped, or transported

in or affecting intemtate or foreign commerce by any means, and the visual depiction was

actually transmitted in interstate or foreign commerce:

                            Count                  Date of Offense
                            Thirty-Seven           May 17,2015
                            Thirty-Eight           May 6,2O16
                            Thirty-Nine            June 4, 2015
                            Forty                  September 19, 2013


       All in violation of Title   18, United States Code, Sections 2251(a), and 2251(e).




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                                     COUNT FORTY-ONE

TIM GRAND JURORS FURTEER CIIARGE TIIAT:
               On or about August 3,2015, in the Eastem District of Pennsylvania, and

elsewhere, the defendant,

                                   LAWRENCE JAMIESON

knowingly possessed books, maqazines, periodicals, films, video tapes and other matter, namely

a laptop computer,   extemal stomge devices, and cellular telephones, which contained visual

depictions that had been produced using materials which had been shipped and transported in

htemtate and foreign commerce. The production ofthese visual depictions involved the use       of

minors engaging in sexually explicit conduct and the visual depictions were ofminors engaging

in sexually explicit conduct.

               In violation of Title 18, United States Code, Section 2252(a)(4)(B).




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                                    COUNT FO RTY-TWO
THT'- GRAND    JURY FURTIIER CHARGES TIIAT:

               On or about August 3, 2015, in the Eastem District of Pennsylvania, and

elsewhere, the defendant,

                                        JOHNBROWN

knowingly possessed books, magazines, periodicals, films, video tapes and other matter, namely

cellular telephones, and email accounts, which contained visual depictions that had been

produced using materials which had been shipped and transported in interstate and foreign

commerce. The production of these visual depictions involved the use ofminon engaging in

sexually explicit conduct and the visual depictions were of minors engaging in sexually explicit

conduct.

               In violation ofTitle 18, United States Code, Section 2252(a)(4)(B).




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                                  NOTICE OF FORFEITURE

TIIE GR{ND JURY FURTHER CHARGES THAT:

               As a result ofthe violations of Title 18, United States Code, Sections 2422(b),

2251(a),2252(a)(2) afi2252(a)@)(B), as set forth in this indictment, defendants

                                 LAWRENCE JAMIESON and
                                     JOHNBROWN

shall forfeit to the United States ofAmerica:

                        (a)    any visual depiction described   in sectior 2252, or any film,

videotape, or other matter which contains any such visual depiction, which was produced,

transported, mailed, shipped, or received as a result of such violation;

                        (b)    any property, real or personal, constituting or traceable to gross

profits or other proceeds obtained from such violation;

                        (c)    any property, real or personal, used or intended to be used to

commit or to promote the commission of such violatioq and

                        (d)    any property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, the violations of Title 18, United States Code,

Sections 2422(b),2251(a),2252(a)(2)     nd2252(a)(a)(B), including, but not limited to:

                   i.   Thumb drives, CDs, and DVDs, taken from LAWRENCE JAMIESON on
                        the date ofthe search warrant;
                   ii. Toshiba Satellite laptop, with no identifiable serial number, taken from
                        LAWRENCE JAMIESON on the date of the search warrant;
                   iii. Samsung Galazy Note 65 cellular telephone, electronic serial number
                        990005880006045;
                   iv. LG Flip cellular telephone, model GPLG,M0GB, serial number
                        4t2CY8L523428;
                   v. Pure Digital F260G flip video recorder, serial number GS2080406931
                   vi. Samsung Galaxy Note 5, SM-N920T, serial number RF8H2026RXE; and
                   viii.HTC cellular telephone (IMEI 358209040244597 .



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         All pursuant to Title    18, United States Code, Section 2253'



                                                       A TRUE BILL:



                                                       GRAND JURY FOREPERSON




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LOUIS D. LAPPEN
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Acting United States AttorneY




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